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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA 


 NORTH CENTRAL COMPANIES,                           Case No. 16‐CV‐3816 (PJS/HB)
 INC.,

                      Plaintiff,
                                                                ORDER
 v.

 MINERVA DAIRY, INC.,

                      Defendant.

       Scott R. Carlson, SRCARLSON LAW LLC, for plaintiff.

       Barbara P. Berens, Erin K. F. Lisle, and Carrie L. Zochert, BERENS &
       MILLER, P.A., for defendant.

       Plaintiff North Central Companies, Inc. (“North Central”) buys large quantities

of cheese from various suppliers—including defendant Minerva Dairy, Inc.

(“Minerva”)—and resells that cheese to its customers.  In May 2016, North Central

issued four purchase orders for cheese to Minerva, and Minerva confirmed the orders in

writing.  Ultimately, however, Minerva failed to fulfill three of the four orders, leaving

North Central scrambling to find alternative suppliers of cheese that it had already

promised to its customers.  North Central was mostly successful in finding replacement

cheese, but North Central had to pay more for the replacement cheese than it would

have had to pay for the cheese ordered from Minerva.  Peeved, North Central refused to
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pay Minerva for the cheese that Minerva had delivered pursuant to the one fulfilled

purchase order.

       Minerva sued North Central in an Ohio state court, seeking payment for the

cheese that it had delivered.  Minerva argued that the purchase orders issued by North

Central were offers, that Minerva’s confirmations of the purchase orders were

acceptances, and thus that the parties had entered into four binding contracts for the

sale of cheese.  Minerva further argued that it had performed under one of the contracts

by delivering cheese, but North Central had breached its obligation to pay for that

cheese.  The Ohio court agreed with Minerva, ruling that North Central and Minerva

“did enter into a contract for the production and sale of cheese products” and that

North Central “is in breach of the contract.”  Carlson Aff. 2, ECF No. 46, Ex. 23 at 2.

       In this action, North Central has sued Minerva for breach of contract for failing to

deliver the cheese promised in connection with the three unfulfilled purchase orders.  In

response, Minerva argues—in direct conflict with the arguments that it successfully

made in the Ohio litigation—that the purchase orders issued by North Central were not

offers, that Minerva’s confirmations of the purchase orders were not acceptances, and

thus that the parties did not enter into binding contracts for the sale of cheese.

       North Central now moves for summary judgment.  The Court finds that, under

the doctrine of judicial estoppel, Minerva cannot now deny that it entered into four



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binding contracts with North Central for the sale of cheese.  The Court further holds

that Minerva breached three of those contracts by failing to deliver cheese as promised. 

The issue of damages will have to be tried, however. 

                                   I. BACKGROUND

                                   A. The Transactions

       Minerva sells cheese in two ways.  Mueller Aff., ECF No. 30, ¶¶ 2‐3.  First,

Minerva and a purchaser can enter into an ongoing commitments contract, under which

Minerva promises to sell, and the purchaser agrees to buy, particular quantities of

cheese over a particular period of time at a particular price.  Id.¶ 2.  Commitments

contracts assure Minerva that it will have buyers for its cheese and assure purchasers

that they will have access to a supply of cheese.  Second, Minerva sells cheese through

“spot orders”—essentially one‐time transactions at market prices.  A buyer who wants

to make a single purchase of a discrete amount of cheese at the market price will contact

Minerva—and, if Minerva has surplus cheese available, Minerva will accept the spot

order.  Id.¶ 3.

       North Central and Minerva never entered into a commitments contract.  Rather,

over a period of several years, North Central would from time to time place spot orders

for cheese with Minerva, and Minerva would fulfill those orders.  Consistent with that

course of dealing, North Central emailed Adam Mueller (Minerva’s president) on



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May 18, 2016, seeking to purchase various quantities of white cheddar cheese for

delivery in May and June.  Rogers Aff., ECF No. 27, Ex. 1.  Within the hour, Mueller

responded:  “We will be making it as fast as we can!  Thank you for the order.”  Id. 

North Central sent Minerva two purchase orders—numbered 122260 (“P.O. 260”) and

122261 (“P.O. 261”)—to formalize the transactions.  Id. Exs. 2‐3.

       Later that month, on May 27, 2016, North Central sent Minerva two additional

purchase orders—numbered 122264 (“P.O. 264”) and 122265 (“P.O. 265”)—for white

cheddar cheese for delivery in late June or early July.  Id. Ex. 4.  On June 4, 2016, after

North Central requested confirmation of the four purchase orders, Minerva sent North

Central written confirmations.  Id. Exs. 5‐8, 10; Mueller Aff. ¶¶ 6, 9, 12‐13; id. Ex. 2. 

Later that week, in response to North Central’s request for a status report, Mueller

advised North Central that the cheese was being produced:  “We are making cheese as

fast as we can, sorry for the delays.”  Rogers Aff. Ex. 12.  Relying on the order

confirmations, North Central entered into contracts to resell the cheese to its customers. 

Sheveland Aff., ECF No. 26; Mueller Aff. Exs. 3‐4.

       In late June, Minerva began communicating that it might not be able to fill North

Central’s orders because of milk shortages.  See, e.g., Mueller Aff. Exs. 3‐4.  Later,

however, Minerva seemed to suggest that the reason it would not deliver the cheese

was because the market price had soared since the purchase orders were accepted in



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early June.  See Rogers Aff. Ex. 13 at 3 (“P.O.’s were accepted with the extremely low

price due to the availability of milk.”).  Minerva also indicated that it would deliver the

cheese if North Central would enter into a commitments contract at above‐market

prices.  See Mueller Aff. Exs. 6‐7 (“Can we set up an annual commitment . . . at +.18 over

the market?  I can arrange to have the milk and be able to commit to this.”).

       Not surprisingly, North Central was angered by Minerva’s tactics, and soon the

parties were arguing about what, if any, contractual obligations existed between them. 

North Central insisted that contracts had been formed and that “[i]t is the responsibility

of the manufacturer to determine if there will be sufficient supply of raw materials to

make the finished product that was ordered and confirmed.”  Mueller Aff. Ex. 9; see also

Rogers Aff. Ex. 13.  Minerva, by contrast, maintained that no contracts existed:  “[Our

employee] sent you a confirmation that we received your order.  That doesn’t mean it

will be filled, we do not have a contract[.] . . . You prefer to purchase your product on

the surplus market for the discounted rates instead of contracted annually.  That is the

risk that you assumed[.]”  Mueller Aff. Ex. 9.

       Minerva eventually delivered some cheese to North Central, but only enough to

fill P.O. 260.  See Rogers Aff. ¶ 5.  In order to satisfy its obligations to its customers,

North Central scrambled to purchase as much cheese as it could from other

suppliers—cheese that it bought at a higher price than it would have paid Minerva. 



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Sheveland Aff. ¶¶ 2‐3 & Ex. 14.  Despite its best efforts, however, North Central could

not quite satisfy all of its outstanding obligations.  See ECF No. 20 at 6.  Angry over the

losses and other problems caused by Minerva’s failure to fulfill the purchase orders,

North Central refused to pay Minerva for the cheese that had been delivered to satisfy

P.O. 260.  

                                     B. The Ohio Action

       Litigation ensued.  Minerva sued North Central in an Ohio state court to recoup

payment for the cheese that it delivered to satisfy P.O. 260.  See Carlson Aff. 2 Ex. 20. 

North Central then sued Minerva in a Minnesota state court (the case was later removed

to this Court) to recover damages that it suffered on account of Minerva’s failure to

satisfy P.O. 261, P.O. 264, and P.O. 265.  See ECF No. 1.  

       In Ohio, Minerva asserted two causes of action.  Carlson Aff. 2 Ex. 20.  The first

cause of action was labeled “Complaint on Account”—a type of breach‐of‐contract

claim under Ohio law.  The second cause of action was for unjust enrichment.  After

North Central answered the complaint, the parties engaged in limited discovery.  See,

e.g., id. Exs. 21‐22.  Minerva then moved for summary judgment.  Id. Ex. 22.

       The memorandum that Minerva submitted in support of its motion contained a

section entitled “Law and Argument,” which was comprised of two subsections.  In the




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first subsection, Minerva argued that it was entitled to a judgment against North

Central.  Minerva’s argument—in its entirety—was as follows:1

                    a.  North Central’s breach of contract

                    The formation of a contract requires an offer,
             acceptance of the offer, and consideration.  Complete General
             Construction Co. v. Kard Welding, Inc., 182 Ohio App.3d 119,
             2009‐Ohio‐1861, ¶ 17 (10th Dist.).  The issuance and
             submission[] of a purchase order is viewed as an offer which
             may be accepted or rejected by the recipient.  American
             Bronze Corp. v. Streamway Products, 8 Ohio App.3d 223, 227
             (8th Dist. 1982).

                    In the instant matter, North Central issued and
             submitted four purchase orders to Minerva.  These purchase
             orders constituted offers to Minerva.  In response, Minerva
             issued a number of order confirmations; effectively
             accepting [North Central’s] offers and forming contractual
             obligations between the two parties.  The consideration to
             support said contractual obligations consisted of Minerva’s
             goods and services of production, and North Central’s
             payment for the same.

                     Minerva produced and shipped cheese sufficient to
             satisfy North Central’s purchase order No. 122260.  The
             cheese product was received and accepted by North Central
             and Minerva subsequently invoiced North Central for the
             same.  Nonetheless, North Central has refused to tender
             payment to Minerva for the products.  See Affidavit of Adam
             Mueller.




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      To enhance readability, the Court has replaced the word “Plaintiff” with
“Minerva” and the word “Defendant” with “North Central” whenever it has quoted
from Minerva’s brief.

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                      North Central’s refusal to pay Minerva for the
               products it produced constitutes a breach of contract; a
               breach for which Minerva is entitled to judgment against
               North Central for the sums due and owing to Minerva for
               the cheese produced.

Id. Ex. 22 at 4‐5.

       In the second subsection (entitled “Setoff defense unavailable to North Central”),

Minerva argued that its recovery against North Central should not be set off by any

amount that Minerva might owe North Central with respect to the three unfulfilled

purchase orders that were the subject of the Minnesota litigation.  Id. Ex. 22 at 5‐7. 

Minerva distinguished between (1) the defense of setoff, which, it argued, is available

only when the defendant claims that it is owed money by the plaintiff in connection

with “a transaction other than the one giving rise to Plaintiff’s claim,” and (2) the

defense of recoupment, which, it argued, is available when the defendant claims that it

is owed money by the plaintiff in connection with “the same transaction as a plaintiff’s

claim.”  Id. Ex. 22 at 6.  

       Minerva noted that North Central had pleaded the defense of setoff in its answer. 

But, said Minerva, that defense did not apply:

                      The facts giving rise to Minerva’s claims in Ohio, and
               North Central’s claims in Minnesota, arise from the same
               transaction and continuous occurrence. . . . By raising the
               defense of setoff, however, North Central asserts that the
               matters are wholly independent of one another, arising from
               separate unrelated events.  This is simply not the case. . . .

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                       . . . Because Minerva’s and North Central’s claims
               arise from the same transaction, North Central’s offset
               defense is inapplicable here. . . .

Id. Ex. 22 at 6‐7.  North Central did not file a memorandum in opposition to Minerva’s

motion for summary judgment.  

       In a brief order, the Ohio court agreed with Minerva that Minerva had entered

into a contract with North Central, that Minerva had performed its obligation under

that contract to deliver cheese, and that North Central had breached its obligation under

that contract to pay for that cheese.  Specifically, the Ohio Court said:

                      Upon review of [Minerva’s] Motion for Summary
               Judgment, supporting evidence and documentation, the
               Court finds the Motion well‐taken.  This Court finds that
               [Minerva] and [North Central] did enter into a contract for
               the production and sale of cheese products, which [Minerva]
               did produce and deliver the cheese products to [North
               Central], and that [North Central] has failed to pay for the
               same.  As a result, [North Central] is in breach of the
               contract.”

Id. Ex. 23 at 2.  The Court awarded Minerva “the sums due it for [North Central’s]

breach of contract[.]”  Id. Ex. 23 at 3. 

                                            C. This Action

       As noted, North Central brought this action against Minerva, seeking to recover

damages that it suffered on account of Minerva’s failure to satisfy P.O. 261, P.O. 264,

and P.O. 265.  North Central now moves for summary judgment.  ECF No. 19. 



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Consistent with Minerva’s arguments in the Ohio litigation (which, again, North

Central did not contest) and the holding of the Ohio court, North Cental argues that the

parties entered into four binding contracts for the delivery of cheese.  One of those

contracts—the contract formed when Minerva accepted P.O. 260—was honored by

Minerva when it delivered the cheese.  But three of those contracts—the contracts

formed when Minerva accepted P.O. 261, P.O. 264, and P.O. 265—were breached by

Minerva.  Thus, says North Central, just as North Central had to pay Minerva the

damages that Minerva incurred as a result of North Central’s breach of the first

contract, Minerva must now pay North Central the damages that North Central

incurred as a result of Minerva’s breach of the second, third, and fourth contracts.

       It is hard to disagree with North Central’s argument, which relies on the

venerable principle that what is good for the goose is good for the gander.  But Minerva

does disagree with North Central’s argument.  Specifically, Minerva now contends that

the purchase orders issued by North Central were not offers, that Minerva’s

confirmations of the purchase orders were not acceptances, and thus that the parties did

not enter into any binding contracts for the sale of cheese.  See ECF No. 31 at 4 (“The

purpose of this [Order Confirmation] form is not to enter into a binding contract with

the party who has requested a spot order.”) (emphasis original); id. at 16 n. 9 (“Minerva

does not concede there was a contract between the parties[.]”); see also Carlson Aff. 1,



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ECF No. 40, Ex. 17 at 2 (“Minerva maintains that no binding contract was ever formed

between North Central . . . and Minerva[.]”); id. Ex. 19 at 2 (“There is no binding

contract between Minerva Dairy and North Central Companies, Inc. regarding the

manufacture of cheese.”).

       The arguments that Minerva now makes before this Court appear to directly

contradict the arguments that Minerva made before the Ohio court.  For that reason, the

Court asked the parties to brief the question of whether the Court should invoke the

doctrine of judicial estoppel to preclude Minerva from denying that it entered into

binding contracts with North Central.  ECF No. 42.

                                        II. ANALYSIS

                                     A. Standard of Review

       Summary judgment is warranted “if the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of

law.”  Fed. R. Civ. P. 56(a).  A dispute over a fact is “material” only if its resolution

might affect the outcome of the suit under the governing substantive law.  Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).  A dispute over a fact is “genuine” only if

“the evidence is such that a reasonable jury could return a verdict for the nonmoving

party.”  Id.  “The evidence of the non‐movant is to be believed, and all justifiable

inferences are to be drawn in [its] favor.”  Id. at 255.  



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                                         B. Liability

       Judicial estoppel is an equitable doctrine that “is intended to protect the courts

from being manipulated by chameleonic litigants who seek to prevail, twice, on

opposite theories.”  State v. Pendleton, 706 N.W.2d 500, 507 (Minn. 2005) (quoting

Levinson v. United States, 969 F.2d 260, 264 (7th Cir. 1992)).2  The Minnesota Supreme

Court has not formally adopted (or rejected) the doctrine, but the Minnesota Court of

Appeals has applied it.3  The parties do not dispute—and this Court predicts—that the

Minnesota Supreme Court will adopt the doctrine when presented with a case in which

all of the elements of the doctrine are met.

       Although it has not yet formally adopted the doctrine, the Minnesota Supreme

Court has described three conditions that must be met before judicial estoppel can be

applied:

              First, the party presenting the allegedly inconsistent theories
              must have prevailed in its original position (a litigant is not
              forever bound to a losing position).  Second, there must be a
              clear inconsistency between the original and subsequent
              position of the party.   Finally, there must not be any distinct
              or different issues of fact in the proceedings.



       2
        A district court is “bound to apply state law elements of judicial estoppel in a
diversity case.”  Occidental Fire & Cas. Co. v. Soczynski, 765 F.3d 931, 935 n.3 (8th Cir.
2014).  Accordingly, this Court applies Minnesota law.
       3
        See Bauer v. Blackduck Ambulance Assʹn, Inc., 614 N.W.2d 747 (Minn. Ct. App.
2000); Port Auth. of City of St. Paul v. Harstad, 531 N.W.2d 496 (Minn. Ct. App. 1995).

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Pendleton, 706 N.W.2d at 507) (cleaned up).  

       Each of the three factors is met in this case:

       First, there is a clear inconsistency between the position that Minerva presented

before the Ohio court and the position that Minerva is presenting before this Court. 

Before the Ohio court, Minerva took the position that (1) North Central’s purchase

orders were offers; (2) Minerva’s confirmations of those orders were acceptances; and

thus (3) North Central and Minerva were bound by four contracts, under which

Minerva was obligated to deliver, and North Central was obligated to pay for, the

specified types and quantities of cheese.  Carlson Aff. 2 Ex. 22.

       Second, Minerva prevailed in its original position.  The Ohio court found that

Minerva’s position was “well‐taken” and held “that [Minerva] and [North Central] did

enter into a contract for the production and sale of cheese products” and that “[North

Central] is in breach of the contract.”  Id. Ex. 23 at 2.  In other words, the Ohio court

ordered North Central to pay damages to Minerva because it found that North Central

breached a contract that Minerva now says never existed.

       Finally, there are no material factual differences between the proceedings.  The

four purchase orders and the written confirmations of those orders were issued in

connection with what Minerva itself has described as “the same transaction and

continuous occurrence.”  Id. Ex. 22 at 6.  Because (to quote Minerva) “Minerva’s and



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North Central’s claims arise from the same transaction,” the two proceedings present

the same issues of fact.  Id. Ex. 22 at 7.

       In short, this appears to be a textbook case for application of the doctrine of

judicial estoppel.  When confronted with that fact at oral argument, counsel for Minerva

did not deny that Minerva was taking a position before this Court that directly

contradicted the position that Minerva took in front of the Ohio court.  Instead,

Minerva’s Minnesota counsel said that she thought that Minerva’s Ohio counsel was

“wrong” to argue that valid contracts existed between Minerva and North Central.  

       In its supplemental brief, however, Minerva now argues that “the positions taken

by Minerva in the two actions are not clearly inconsistent . . . but are instead

substantially the same.”  ECF No. 47 at 1.  Engaging in some revisionist history,

Minerva contends that it did not even make a claim for breach of contract in the Ohio

litigation, but instead sought only a non‐contractual recovery on a quantum meruit or

similar theory.  In support of this argument, Minerva makes several points—all clearly

meritless.

       First, Minerva argues that its “Ohio Complaint did not assert a contract claim”

but instead made claims for “complaint on account” and unjust enrichment.  Id. at 1; see

also id. at 4 (“Minerva’s Ohio Complaint did not assert a contract claim and never

mentioned an offer, an acceptance, or the existence of any contract between Minerva



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and North Central.”) (emphasis original).  Minerva never really explains the nature of a

“complaint on account,” if it is not a claim for breach of contract.  But Minerva implies

that it regards a “complaint on account” as similar to a claim for quantum meruit—that

is, a claim brought by someone who has provided goods or services on account but who

is not a party to a legally enforceable contract. 

       Minerva is incorrect.  As the Ohio courts have repeatedly explained, “[a]n action

on an account is ‘founded upon contract’ and constitutes a breach of contract claim.”  Gray

Printing Co. v. Blushing Brides, L.L.C., 2006‐Ohio‐1656, 2006 WL 832587, ¶ 21 (quoting

Oxford Sys. Integration, Inc. v. Smith–Boughan Mechanical Servs., 159 Ohio App.3d 533,

2005‐Ohio‐210, 824 N.E.2d 586, ¶ 16) (emphasis added); see also Johncol, Inc. v. Cardinal

Concession Servs., L.L.C., 2017‐Ohio‐9031, 101 N.E3d 1014, ¶ 16 (same); Benchmark

Contrs., Inc. v. Southgate Mgt., L.L.C., 2014‐Ohio‐1254, 2014 WL 1347740, ¶ 38 (same).  A

“complaint on account” is simply a pleading device—sanctioned by Rule 10(D)(1) of the

Ohio Rules of Civil Procedure—whose purpose is “‘to avoid the multiplicity of suits

necessary if each transaction between the parties (or item on the account) would be

construed as constituting a separate cause of action.’”  Citibank (S. Dakota) N.A. v.

Lesnick, 2006‐Ohio‐1448, 2006 WL 763078, ¶ 8 (quoting Am. Sec. Serv., Inc. v. Baumann, 32

Ohio App. 2d 237, 242, 289 N.E.2d 373, 377 (Ohio Ct. App. 1972)); see also Johncol,

2017‐Ohio‐9031, ¶16 (same). 



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       Even if Minerva was correct that its “complaint on account” was not a breach‐of‐

contract claim, it would not matter, as judicial estoppel applies not just to the formal

claims and defenses made by a party in its pleadings, but to the arguments that the

party made before a court.  See, e.g., New Hampshire v. Maine, 532 U.S. 742, 749 (2001)

(“[J]udicial estoppel, ‘generally prevents a party from prevailing in one phase of a case

on an argument and then relying on a contradictory argument to prevail in another

phase.’”) (emphases added); Stallings v. Hussmann Corp., 447 F.3d 1041, 1047 (8th Cir.

2006) (“[A] party that takes a certain position in a legal proceeding, ‘and succeeds in

maintaining that position,’ is prohibited from thereafter assuming a contrary position

‘simply because his interests have changed[.]’”) (emphases added); Pendleton, 706

N.W.2d at 508 (“[T]he doctrine is aimed at preventing bad faith abuses of the judicial

system wherein a party asserts one theory to prevail at one time, then cynically switches

to an inconsistent theory to win in a subsequent proceeding.”) (emphases added).  

       Second, proceeding from the erroneous premise that its claim for “complaint on

account” was not a claim for breach of contract, Minerva then cherry picks sentences

out of the summary‐judgment brief filed in the Ohio court to try to support its

contention that it never argued that it had a contract with North Central.  Instead,

Minerva insists, it merely argued that it delivered cheese to North Central, that North

Central accepted the cheese, and that North Central thus had to pay for the cheese.  ECF



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No. 47 at 8 (. . . “Minerva did not rely on the argument that the purchase orders and

confirmation forms were ‘contractual obligations.’  Rather, Minerva focused principally

on its production and shipment of cheese, its invoicing for the cheese, and North

Central’s acceptance of but refusal to pay for the cheese.”) (citation omitted).  

       This is not a fair characterization of Minerva’s brief.  The entirety of Minerva’s

argument for why North Central should be held liable is reproduced above.  The

heading of that argument was “North Central’s breach of contract.”  Carlson Aff. 2

Ex. 22 at 4.  The first sentence of that argument was “[t]he formation of a contract

requires an offer, acceptance of the offer, and consideration.”  Id.  Minerva then

explicitly argued that North Central’s “purchase orders constituted offers to Minerva”

and that Minerva had “effectively accept[ed] North Central’s offers” when “Minerva

issued a number of order confirmations.”  Id. at 5.  And Minerva explicitly contended

that, when it accepted North Central’s offers, Minerva “form[ed] contractual obligations

between the two parties.” Id.4


       4
        Minerva now makes much of the following sentence in its Ohio brief:  “The
consideration to support said contractual obligations consisted of Minerva’s goods and
services of production, and North Central’s payment for the same.”  Carlson Aff. 2
Ex. 22 at 5.   Minerva suggests that what was meant by that sentence is that the contract
was not supported by consideration until the cheese was delivered.  Thus, Minerva
suggests, it is not taking a contrary position in this litigation because “[a]s a result of the
absence in this case of the ‘consideration,’ as that was defined by Minerva in the Ohio
Action, well established contract law dictates that there is no enforceable contract here
                                                                                 (continued...)

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       It is true, of course, that Minerva pointed out in its brief that it had delivered the

cheese to North Central and that North Central had refused to pay for it.  But this was

merely to show that Minerva had performed under the contract (and that North Central

had not), not that Minerva did not have a contract.  The brief itself makes this clear: 

“North Central’s refusal to pay Minerva for the products it produced constitutes a

breach of contract; a breach for which Minerva is entitled to judgment against North

Central for the sums due and owing to Minerva for the cheese produced.”  Id.

(emphasis added).  Minerva did not in any way argue that it was entitled to recover

under a non‐contract‐based theory, such as quantum meruit or unjust enrichment.

       Third, Minerva argues, in essence, that if its Ohio attorney had intended to argue

breach of contract, he would have done a better job of it.  Minerva points out, for

example, that the attorney did not introduce into evidence the purchase orders that


4
 (...continued)
(and thus the two positions are easily reconcilable).”  ECF No. 47 at 6.

       This argument borders on frivolous.  Obviously, Minerva was not arguing to the
Ohio court that no consideration existed for the contract until the parties performed
their obligations under the contract—that is, until Minerva delivered the “goods” and
North Central made “payment for the same.”  That would mean that one party could
never sue another party for failure to perform under a contract, because an enforceable
contract could not exist without consideration, and consideration could not exist
without performance.  Obviously, Minerva was merely pointing out that the
consideration for the contracts was Minerva’s commitments to deliver cheese and North
Central’s commitments to pay for the cheese.  That is why Minerva was able to sue North
Central for breach of contract before North Central paid for the cheese.

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were the supposed offers or the confirmations that were the supposed acceptances. 

ECF No. 47 at 6 (“[T]he purchase orders and the confirmation forms were never offered

as part of Minerva’s record in support of summary judgment[.]”).  Minerva also points

out that the affidavit that the attorney submitted (signed by Mueller) did not explicitly

claim that Minerva and North Central had entered into contracts.  Id. at 6‐7, 11‐12.

      Of course, the best way to determine what the Ohio attorney argued is to look at

what the Ohio attorney argued.  As the Court has discussed at length, the Ohio attorney

brought a breach‐of‐contract claim in his complaint, moved for summary judgment on

that breach‐of‐contract claim, and argued in support of his motion that North Central’s

issuance of the purchase orders and Minerva’s confirmation of those orders created

legally binding contracts.  It is true that the Ohio attorney could have submitted

additional evidence in support of his argument.  But this was a routine state‐court

collection action (with undisputed facts) involving a three‐page complaint, a three‐page

answer, a one‐page summary‐judgment motion, a five‐page memorandum in support

of the motion, and a two‐page order granting the motion.  Clearly, all involved were

trying to handle the case as quickly and inexpensively as possible.

      More importantly, it is not true (as Minerva implies) that the Ohio attorney had

to submit the purchase orders and confirmations in order to establish a breach of

contract.  Ohio law is clear that “the plaintiff [need not] introduce any documentary



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proof into evidence to prove breach of contract; the plaintiff may establish a prima facie

case through oral testimony.”  AMF, Inc. v. Mravec, 2 Ohio App. 3d 29, 31, 440 N.E.2d

600, 603 (1981).)  Minerva’s attorney did submit an affidavit from Mueller, and that

affidavit attested both that North Central “did issue to [Minerva] four purchase

agreements” and that “[u]pon receipt of the purchase orders, [Minerva] issued order

confirmations for the same.”  Carlson Aff. 2 Ex. 22 at 13.  The Ohio court could

find—and obviously did find—that Mueller’s affidavit was sufficient to establish that

the parties “did enter into a contract.”  Id. Ex. 23 at 2. 

       Finally, Minerva claims that “North Central paid for the shipped cheese even

before the Ohio Court issued its Order” on May 24, 2017.  ECF No. 47 at 3.  In support of

its assertion, Minerva submits a North Central check in the amount of $155,737.43 made

payable to Minerva and dated May 18, 2017.  ECF No. 48‐3.  But Minerva does not

submit any evidence as to the date on which North Central actually mailed that check. 

Moreover, Minerva’s assertion that the check was mailed before the judgment was

entered is contradicted by the sworn testimony of its own president, who attested in an

affidavit that “[a]fter judgment was entered in th[e] action against North Central it

finally paid for the cheese.”  Meuller Aff. ¶ 22 (emphasis added).  

       Putting that aside, Minerva’s assertion is irrelevant.  Minerva’s argument that it

had entered into contracts with North Central was accepted by a judge who entered a



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binding judgment—a judgment that has not been vacated and that imposes a legal

obligation on North Central to pay not just $155,737.43 for the cheese, but also “interest

at the statutory rate” and “court costs incurred herein.”  Carlson Aff. 2 Ex. 23 at 3. 

Minerva does not explain why such a judgment is insufficient to support the application

of the doctrine of judicial estoppel, nor does Minerva cite any legal authority that would

support such an argument.

                                          *     *     *

       For these reasons, Minerva is judicially estopped from arguing that it did not

enter into contracts to provide North Central with enough cheese to fill P.O. 261,

P.O. 264, and P.O. 265.  Minerva does not dispute that if it entered into such contracts, it

breached those contracts by failing to provide the promised cheese.  The Court therefore

grants North Central’s motion for summary judgment in part and finds as a matter of

law that Minerva is liable to North Central for breach of contract.

                                        C.  Damages

       Minerva also argues that the Court should deny North Central’s motion for

summary judgment because “there are material fact disputes about whether North

Central acted reasonably and in good faith when purporting to seek cover.”  ECF No. 31

at 20.  But Minerva’s argument is largely premised on its assertion that Minerva had no

contractual obligation to deliver cheese to North Central.  The Court has already held to



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the contrary.  Consequently, the Court finds that North Central acted reasonably in

relying on Minerva’s promise to perform—and that, after Minerva breached, North

Central had the right to contract with other suppliers to cover its losses.  

       Nonetheless, there appears to be a material factual dispute with respect to

damages.  In its opening brief, North Central asserted that it covered 40,000 pounds of

the cheese described in P.O. 265 with a purchase from Nasonville.  That transaction, it

averred, resulted in a loss of approximately $81,077.94.  See ECF No. 20 at 6.  Minerva

points out, however, that there is reason to question whether North Central is entitled

to damages for that specific transaction:  North Central purchased (more expensive)

kosher cheese from Nasonville, but P.O. 265 was for (less expensive) non‐kosher cheese.

       Alone, that fact would be noteworthy.  But there is more.  Prior to Minerva’s

failure to deliver, North Central contracted to sell 40,000 more pounds of kosher cheese

than it had ordered from Minerva.  See ECF No. 31 at 19 & n.11; see also ECF No. 33,

Ex. 1.  It is possible, then, that North Central’s purchase from Nasonville was not an

attempt to cover Minerva’s breach, but instead an attempt to “cover” an error made by

North Central.  

       Because North Central has not responded to Minerva’s assertions, see ECF No. 39

at 8, the Court is not in a position to resolve the issue of damages.  The Court asks that




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the parties confer and attempt to resolve the issue themselves.  If they are unable to do

so, the parties will have to try the issue before a jury.

                                           ORDER

       Based on the foregoing, and on all of the files, records, and proceedings herein,

IT IS HEREBY ORDERED THAT plaintiff ’s motion for summary judgment [ECF

No. 19] is GRANTED IN PART and DENIED IN PART as follows:

       1.     Plaintiff’s motion is GRANTED insofar as it seeks a ruling that defendant

              is liable to it for breach of contract.

       2.     Plaintiff’s motion is DENIED WITHOUT PREJUDICE insofar as it seeks a

              ruling regarding the amount of damages owed by defendant.


 Dated:  August 31, 2018                        s/Patrick J. Schiltz                                       
                                               Patrick J. Schiltz
                                               United States District Judge




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